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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

                                                  Civil Action No. 1:23-CV-12291-JEK

BRIAN LANGHAMMER,

               Plaintiff

V.

TOWN OF TISBURY, ET AL.,

               Defendants

DEFENDANTS’ MOTION FOR RECONSIDERATION OF THE COURT’S ORDER OF
       JANUARY 24, 2025 RE: PLAINTIFF’S MOTIONS TO COMPEL

       Defendants hereby request this Court to reconsider their order of January 24, 2025

regarding Plaintiff’s Motions to Compel further interrogatories from the individual Defendants

and documents from the Town of Tisbury.

       At a status conference on January 8, 2025, the Court encouraged the parties to meet and

resolve the issues regarding the Plaintiffs’ various Motions to Compel. Said motions had been

filed just prior to the January 8, 2025 status conference and were not ripe for argument due to the

fact that the Defendants had yet to file any oppositions. The Court is correct in its order of

January 24, 2025, in that the Defendants indicated they were intending in fact to oppose the

motion, but, in fact, they did not.

       What the parties did do, however, was accept the Court’s advice and discuss their

differences. Accordingly, the parties had a teleconference immediately after the conclusion of

the January 8, 2025 status conference, in which the parties worked out an agreement in which the

Plaintiff would be supplied with the following documents: the personnel file, training record, and

disciplinary record of each of the Defendants (subject to any necessary confidential redactions).
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The telephone conference was both civil and productive, and both parties agreed to cooperate in

the future with respect to any discovery issues, with said documents expected to be produced by

January 31, 2025. See Affidavit of Attorney Stephen C. Pfaff. Regrettably, however, neither

party officially informed the Court that a resolution had been reached, and Defendants did not

inform the Court that because of the resolution they would not be opposing the Plaintiffs

Motions to Compel. Hearing nothing from the parties about their successful meeting nor any

indication from the Defendants that they would now not oppose Plaintiff’s motions, the Court

understandably issued its order.

       Accordingly, because the Parties reached a resolution prior to the Court’s January 24,

2025 order on the Plaintiffs Motions to Compel, Defendants would request that the Court rescind

or amend its order, and hold in abeyance any decision on the Plaintiffs Motions to Compel until

after the Defendants supply the aforementioned documents to the Plaintiffs. Should, in fact, the

Plaintiff not be satisfied with the Defendants substantive responses and the parties then unable to

resolve any disputes, Plaintiff could then file his motions, and Defendants would have an

opportunity to oppose.

       Wherefore, the Defendants request that their request for reconsideration be allowed.


                                             Respectfully submitted,
                                             DEFENDANTS,

                                             TOWN OF TISBURY, JEFF DAY,
                                             CHARLES DUQUETTE, SCOTT OGDEN AND MAX
                                             SHERMAN,

                                             By its attorney:

                                             /s/Stephen C. Pfaff
                                             _______________________________
                                             Stephen C. Pfaff (BBO# 553057)
                                             spfaff@lccplaw.com
                                             Louison, Costello, Condon & Pfaff, LLP
                                             Ten Post Office Square, Suite 1330
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                                                 Boston, MA 02109
                                                 617-439-0305
                                                 FAX: 617-439-0325


Date: January 28, 2025
                                    CERTIFICATE OF SERVICE

        I, Stephen C. Pfaff, hereby certify that on January 28, 2025, a true copy of the above document
was served upon:

                                      Brian Langhammer, pro se
                                             PO Box 1680
                                         Fairplay, CO 80440
                                            (508)499-9660
                                    MVMACTECH@GMAIL.COM

                                        /s/Stephen C. Pfaff

                                        Stephen C. Pfaff
